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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF ILLINOIS


 NATALIE BACHER,                             )
                                             )   Case No. 3:24-cv-01113-JPG
                      Plaintiff,             )   CJRA Track: B
                                             )   Mandatory Mediation: Yes
 vs.                                         )   Jury Trial: June 2, 2025
                                             )
 PENN ALUMINUM                               )
 INTERNATIONAL, LLC,                         )
                                             )
                      Defendant.             )

                JOINT REPORT OF PARTIES AND
         PROPOSED SCHEDULING AND DISCOVERY ORDER

       Pursuant to Federal Rule of Civil Procedure 26(f) and SDIL-LR 16.2(a), an initial
conference of the parties was held on June 3, 2024 with Mohammed O. Badwan, Esq.
for Plaintiff and Conor P. Neusel participating.

SCHEDULING AND DISCOVERY PLANS WERE DISCUSSED AND AGREED TO
AS FOLLOWS:

   1. A stipulation selecting a mediator shall be filed with the Court by July 1, 2024.

   2. Initial interrogatories and requests to produce, pursuant to Federal Rules of Civil
      Procedure 33 and 34 shall be served on opposing parties by June 28, 2024.

   3. Plaintiff’s deposition shall be taken by December 31, 2024.

   4. Defendant’s deposition shall be taken by December 31, 2024.

   5. Motions to amend the pleadings, including the commencement of a third-party
      action, shall be filed by August 30, 2024 (no later than 90 days following the
      Scheduling and Discovery conference).

   6. Expert witnesses shall be disclosed, along with a written report prepared and
      signed by the witness pursuant to Federal Rule of Civil Procedure 26(a)(2), as
      follows:
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            Plaintiff’s expert(s): September 31, 2024
            Defendant’s expert(s): November 30, 2024.
            Third Party expert(s): November 30, 2024.

  7. Depositions of expert witnesses must be taken by:

            Plaintiff’s expert(s): December 13, 2024
            Defendant’s expert(s): January 10, 2025.
            Third Party expert(s): January 10, 2025.

  8. The parties CERTIFY that they have discussed, in particular, the proportionality
     of discovery, the burden and expense associated with discovery, and the discovery
     of electronically stored information (ESI). The parties do not anticipate a need for
     ESI protocol. The parties shall submit to the Court any joint proposed ESI protocol
     no later than June 28, 2024. (The protocol shall contain mechanisms for addressing
     necessary topics concerning ESI to include sources of information, search terms,
     format of production and preservation of ESI by both Plaintiff(s) and
     Defendant(s)).

  9. The Mandatory Mediation Session shall be completed by December 23, 2024 (no
     later than 30 days before the discovery cut-off).

  10. Discovery shall be completed by January 22, 2025 (no later than 130 days before
      the first day of the month of the presumptive trial month or the first day of the
      month of the trial setting). Any written interrogatories or request for production
      served after the date of the Scheduling and Discovery Order shall be served by a
      date that allows the served parties the full 30 days as provided by the Federal
      Rules of Civil Procedure in which to answer or produce by the discovery cut-off
      date.

  11. The Mandatory Mediation Process shall be completed by February 6, 2025 (no
      later than 15 days after the discovery cut-off).

  12. All dispositive motions shall be filed by February 21, 2025 (no later than 100 days
      before the first day of the month of the presumptive trial month or the first day of
      the month of the trial setting). Dispositive motions filed after this date will not be
      considered by the Court.

  13. The parties are reminded that, prior to filing any motions concerning discovery,
      they must first meet and confer relating to any discovery disputes and then contact
      the Court to arrange a telephone discovery dispute conference if they are unable
      to resolve their dispute. If the dispute cannot be resolved in the first telephonic
      conference, the Court will establish, with the input of the parties, the mechanism
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     for submitting written positions to the Court on an expedited basis.


     DATED: June 5, 2024

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